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                          UNITED STATES DISTRICT COURT
                                                       for the
                                  DISTRICT OF MASSACHUSETTS



                  MIKHAIL SIGACHEV
                               Plaintiff(s)
                                                                        Civil Action No. 1:20−CV−11615−DJC
                                   v.


               DENIS RIORDAN, ET AL.
                              Defendant(s)




                                              PROCEDURAL ORDER

   Plaintiff has filed a self−prepared complaint, but has not paid the $350.00 filing fee and the $50.00
administrative fee,1 see 28 U.S.C. § 1914(a) ($350.00 filing fee for all non−habeas civil actions), or filed a motion
for leave to proceed without prepayment of the filing fee, see 28 U.S.C. § 1915 (proceedings in forma pauperis).

   Accordingly, plaintiff must either (1) pay the $400.00 filing and administrative fees; or (2) move for leave to
proceed without prepayment of the filing fee. Failure of plaintiff to comply with this directive within 21 days of
the date of this Procedural Order may result in the dismissal of this action.

    If the plaintiff elects to seek in forma pauperis status, plaintiff must submit an affidavit that includes a
statement of all plaintiff's assets. See 28 U.S.C. § 1915(a)(1). For the convenience of litigants, this Court
provides a form application to seek leave to proceed in forma pauperis. The Clerk shall provide plaintiff
with an Application to Proceed in District Court Without Prepaying Fees or Costs.

   SO ORDERED.

                                                                             /s/ − Denise J. Casper

  Dated: August 31, 2020                                         UNITED STATES DISTRICT JUDGE




1The   $50.00 administrative fee became effective May 1, 2013. See Judicial Conference Fee Schedule.
